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                      UNITED STATES DISTRICT COURT
                                                   for the
                                        District of Colorado

                                                         Case No.   20-cv-00452-WJM-SKC
                  Tiffany Grays, pro se
                        Plaintiff(s)

                           -V-

       Equifax Inc. d/b/a/ Equifax Information
   Services LLC., Experian Information Solutions,
   Inc., Trans Union LLC., Innovis Data Solutions,
       Inc., Navient Corporation d/b/a Navient
                     Solutions, Inc.
                      Defendant(s)



   PLAINTIFF’S REPLY IN SUPPORT OF HER MOTION TO STRIKE, FOR
                SANCTIONS AND PROTECTIVE ORDER

      By and through Defendant and Michael Joseph Kaufmann and Dennis Norman Lueck Jr.

   (“Counsel”) all “Counsels”) Response (ECF No. 188) have confirmed causation to grant the

   relief requested by Ms. Tiffany Grays, pro se Plaintiff, as Defendant’s habitual “disobedience” to

   multiple Orders pertaining to Defendant’s dilatory deposition dance only affirms Defendant’s

   and its Counsels’ conduct has created an undue burden upon the Plaintiff and vexatiously

   multiplied these proceedings substantiating sanctions, striking, and protection.


                                          I.   ARGUMENT
      “Our mission is to serve the public by providing a fair and impartial forum that ensures equal

   access to justice in accordance with the rule of law, protects rights and liberties of all persons,

   and resolves cases in a timely and efficient manner.” The District of Colorado1,2.




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   1
    http://www.cod.uscourts.gov/CourtOperations/RulesProcedures/LocalRules/CivilLocalRules.as
   px
   2
    http://www.cod.uscourts.gov/Portals/0/Documents/Judges/SKC/SKC_Civil_Practice_Standards.
   pdf?ver=2021-05-07-104227-920
           This case at issue for over two years has yet to even conclude discovery as indicated in

   Defendant’s Motion for a Status Hearing, affirming that said issues have this case “off track” yet

   these issues were caused by each attorney for Defendant failing to perform the actions required

   under the rule of law (Fed. R. Civ. P. 11, 26, 30) and this Court’s discovery Orders; resulting in

   depriving Plaintiff of the fair and impartial forum that ensures equal access to justice by

   resolving this case in a timely and efficient manner as evident in this 195 th filing in this case.

           Throughout the Response, Defendant fails to cite any conferral statement in any of the

   more than “100” emails that shows Defendant ever sought to confer on sanctions or the

   protective order. Mr. Lueck asserts that conferral on Counsels’ intent indifference to the Orders

   (ECF No. 101 at p.1; ECF No. 134 at p.1; ECF No. 160 at p.2), of this Court to set a date for

   the depositions through seeking to confer on 30b6 topics is translation into conferral on a

   protective order and sanctions is utter ridiculousness and in direct contradiction of conferral.

   Even if the basis for the protective order and sanction motions is similar to or even if identical to

   the basis for conferral on 30b6 topics it still does not mean conferral on the protective order and

   sanctions is conferral on 30b6 topics, nor vice versa. Further substantiation to grant Plaintiff

   relief is Defendant’s Response is void of any citation to the record which shows Defendant

   sought to comply with the duplicative Orders of this Court, to set the date for the depositions as

   not once did Counsel provide a date for depositions that included the stipulations imposed by the

   Court, because like the conferral on the protective order and sanctions it doesn’t exist.




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          Defendant and Counsels’ abuse of process vexatiously multiplying proceedings is further

   evident in the argument that conferral on the 30b6 topics did not take place even as the record

   reflects many emails were sent between parties on the 30b6 topics and parties have from the

   beginning and through today confer via email on issues, yet Defendant and Counsels argue that

   conferral on 30b6 topics must occur via phone in order to satisfy conferral requirements is utter

   ridiculousness. Nothing in any of Defendant’s Motions (ECF No. 171) or Responses (ECF Nos.

   174, 175, 182) have addressed that Fed. R. Civ. P. 30(b)(6) says conferral can take place

   “before,” or after the notice of deposition and that Plaintiff has had verbal and written conferrals

   with each and every counsel for Defendant on the 30b6 topics satisfies the conferral

   requirements is further substantiation of Defendant and Counsels mendacity and granting

   Plaintiff sanctions, striking, and protections. Finally, as indicated in the record, Plaintiff asked

   Mr. Kaufmann to call her to confer on the 30b6 topics via phone, (ECF No. 179-1 at p. 14), and

   in lieu of performing such action, Mr. Lueck remained unresponsive and Mr. Kaufmann sought

   antagonize Plaintiff by responding only via email. Id. Defendant’s Responses fails to articulate

   why in two years of litigation, Defendant has still failed to disclose any respondent(s) to the

   30(b)(6) deposition request – even the parts uncontested (ECF No. 171 at pp.8-9) by Defendant,

   when the Rules require such disclosure substantially supports sanctions.

          The Response fails to address the mendacity of Mr. Kaufmann in failing to set a time and

   date to confer as indicated in the Certification (ECF No. 180 at I), nor Mr. Lueck’s complete

   silence on the matter, Id., thus the relief requested should be considered unopposed, as not doing

   so rewards the continued conferral non-compliance of Defendant and its Counsels. Mr. Lueck’s

   continued unresponsiveness Id., - not addressed in any Response (ECF Nos. 174, 175, 182) -

   through his failure to respond at all to Plaintiff’s request to confer in addition to Mr. Kaufmann’s


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   express conferral denials and failure to seek or confer after his “friend’s wedding,” (ECF No.

   174 at p.2), “two months later,” Id., substantiates Mr. Lueck’s intentional misrepresentation to

   this Court that Plaintiff failed to “confer with NSL,” (ECF No. 188 at p. 4), on 30b6 topics and

   on the relief requested in her motions and is only further indicative of the bad-faith Defendant

   and Counsels have exhibited throughout this case; substantiating default judgment in Plaintiff’s

   favor. Plaintiff sought to confer. (See ECF No. 165-1 at pp. 16-17; See also ECF No. 166-1 at

   p.17; See also ECF No. 171 at p.4; See also ECF No. 174 at p.2). Defendant and Counsels

   continue misrepresentations to the Court by stating that they have complied with the Rules and

   Orders, by arguing “Fed. R. Civ. P. 26(a)(1)(A)(i),” (ECF No. 174 at p.4), requires both the

   identification and contact information, Defendant’s identification of persons without contact

   information in response to Plaintiff’s Interrogatory 14 somehow satisfies the discovery Rules and

   that Plaintiff failed to articulate a failure. (ECF No. 188 at p. 3). Preposterous arguments which

   express the egregious conduct of Defendant and Counsels throughout this instant case as Plaintiff

   articulated the failure to provide “contact information,” (ECF No. 174 at p.3), for individuals

   identified and that Defendant’s argument that amending the disclosures identifying individuals as

   a response to a discovery request subverts the requirements under Rule 26.

          Without citing any case law Mr. Lueck argues Plaintiff’s response to Defendant's MPO

   preempts the Court’s inherent power to strike. (ECF No. 188 at p.3). Such argument is utter

   ridiculousness as it supersedes the Rules and unilaterally strips this Court of its powers to the

   benefit of Defendant, all of which is further indicative of Defendant’s and Counsels’ bad-faith

   conduct with which Plaintiff has had to contend throughout this case, substantiating the relief

   prayed for. The bad-faith is further established in Defendant’s position that the Rules of this

   Court which permit motions to be 15 pages and Plaintiff’s use of the allotment as her Motion


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   “weighs in at fourteen (14) pages,” (ECF No. 188 at p.4), is somehow incorrect even while

   Defendant sought (ECF No. 168) and received (ECF No. 170), an enlargement for its MPO that

   “weighs” in at 5 pages over the limit is utter ridiculousness and another frivolous argument by

   Defendant and its Counsels’. The merits of Plaintiff’s Motion are supported in the absence - prior

   to and after Defendant’s Responses and Motions - of any proof that Defendant sought to confer

   on sanctions nor the protective order sought by Defendant in ECF No. 171. Furthermore, as the

   30b6 topics and the resulting motions for sanctions and protective order filed by Defendant

   concerns discovery disputes and this Court’s explicit instructions regarding such disputes, and as

   Defendant never sought to contact the Court, the Motion should be stricken and sanctions

   awarded to Plaintiff.

      Defendant and its Counsels attempt to use Plaintiff’s prior statements and arguments in

   previous filings as substantiation of “a disjointed diatribe” (ECF No. 188 at p.4) only establishes

   Defendant’s Response as vexatiously verbose in an effort to distract the Court and depress its

   dilatory discovery disobedience to this Court’s Orders. (ECF No. 101 at p.1; ECF No. 134 at

   p.1; ECF No. 160 at p.2). To be certain, any argument in opposition could be considered

   diatribe. Diatribe is “a bitter and abusive speech or piece of writing.” https://www.merriam-

   webster.com/dictionary/diatribe Counsels and Defendant’s determination that Plaintiff following

   the rules which require Plaintiff and Defendant - even though Defendant has ignored this rule by

   seeking relief in response to Plaintiff’s motions in ECF Nos. 178 at p.2; - to request relief

   separately from objections and responses - even though the facts are pertinent to motions may

   likewise be pertinent to objections and responses - as substantiation of said filings as “disjointed,

   diatribe[, or] omnibus” (ECF No. 188 at p.4) to decline Plaintiff the relief requested is utter

   ridiculousness and expresses Defendant and its Counsels sinister motives. In the end, even while


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   Defendant and Counsels argue “disjointed, diatribe[, or] omnibus,” Id., motions, responses,

   and/or objections are errs, Defendant and Counsels conclude the Response with its own

   “disjointed, diatribe[, or] omnibus” Id., incorporation of prior requests and responses in response

   to Plaintiff’s “prior requests[;]” Id.; which only further substantiates the ill-logical retaliatory

   bad-faith conduct of Defendant and Counsels with which Plaintiff has had to contend throughout

   this litigation all of which substantiates sanctions against Defendant and its Counsels.


                                       II.     CONCLUSION
       As “the size of her [Plaintiff’s] pocketbook should not be dispositive when "an interest far

   more precious than any property right" is at stake,” Santosky v. Kramer, 455 U.S. 745. The rules

   of discovery are as “equally applicable to… billion dollar,” United Nuclear Corp. v. General

   Atomic Co., 96 N.M. 155, 242 (1980), Defendant as they are to “poorest citizen” Id., Plaintiff.

   “Any contrary rule or any special considerations would be inimical to the most fundamental

   postulate of our legal system-that before the law, all stand equal.” Id. Plaintiff’s adherence to the

   Rules and Orders of this Court have indeed been scrutinized and Plaintiff Ordered to strict

   compliance, (See ECF No. 5; See also ECF No. 78; See also ECF No. 124; ECF Nos. 137 and

   138; See also ECF No. 146; See also ECF No. 152), requiring the same to Defendant and its

   Counsels as requested.

                                          Respectfully Submitted,



                                                                                 /s/ Tiffany Grays, pro se
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                     UNITED STATES DISTRICT COURT
                                               for the
                                     District of Colorado

   Tiffany Grays, pro se                                       20-cv-00452-WJM-SKC
           v
   Navient Solutions, et al

                          CERTIFICATE OF SERVICE
   I hereby certify that on the 5th day of June 2022, I have filed the foregoing with the Clerk of
   Court using the CM/ECF system, which will also e-mail a true and correct copy of this document
   to the following:
   DOCUMENT: PLAINTIFF’S REPLY IN SUPPORT OF HER MOTION TO STRIKE,
   FOR SANCTIONS AND PROTECTIVE ORDER


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                                                      Ralph L. Carr Colorado Judicial Center
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